
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 94-8042




                                        IN RE

                                    CARGILL, INC.,

                                     Petitioner.

                              _________________________

                ON PETITION FOR WRIT OF MANDAMUS TO THE UNITED STATES

                       DISTRICT COURT FOR THE DISTRICT OF MAINE

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              _________________________

               Bernhardt K.  Wruble, with whom William  R. Sherman, Verner,
               ____________________            ___________________  _______
          Liipfert, Bernhard, McPherson and Hand, Peter J. DeTroy, III  and
          ______________________________________  ____________________
          Norman, Hanson &amp; DeTroy were on brief, for petitioner.
          _______________________
               Joel C. Martin, with whom Michael K. Martin, Daniel W. Bates
               ______________            _________________  _______________
          and Petruccelli &amp; Martin were on brief, for plaintiffs.
              ____________________

                              _________________________

                                   October 10, 1995

                              _________________________






















                    SELYA,   Circuit  Judge.    Petitioner,  Cargill,  Inc.
                    SELYA,   Circuit  Judge.
                             ______________

          (Cargill),  seeks a  writ of  mandamus directing  a judge  of the

          United  States  District  Court  for  the  District  of Maine  to

          withdraw a decision  previously issued and then to recuse himself

          from further  proceedings  in the  underlying  cause.1   For  the

          reasons that follow, we decline to issue a prerogative writ.

          I.  BACKGROUND
          I.  BACKGROUND

                    The  petition arises out  of a civil  action brought by

          several former Cargill employees,  represented by Daniel W. Bates

          and Kenneth D. Keating  of Petruccelli &amp; Martin (P&amp;M),  an eight-

          lawyer  firm  in Portland,  Maine.    The complaint  invokes  the

          Robinson-Patman  Act, 15 U.S.C.    13-13b  (1988), and alleges in

          substance that Cargill  discharged the plaintiffs  in retaliation

          for  their  unwillingness  to  abide  certain  predatory  pricing

          practices.   Cargill  retained a  Washington-based firm,  Verner,

          Liipfert, Bernhard,  McPherson, and  Hand (Verner,  Liipfert), as

          lead  counsel, and  a  Portland firm,  Pierce, Atwood,  Scribner,

          Allen, Smith,  and Lancaster (Pierce, Atwood),  as local counsel.

          It  then  moved  to dismiss  on  the  basis  that the  plaintiffs

          experienced no antitrust  injury and, therefore,  lacked standing

                              
          ____________________

               1Petitioner  premises his  argument on  the ground  that the
          judge's  impartiality  might  reasonably  be  questioned.     The
          relevant statute provides:

                    Any  justice,  judge,  or magistrate  of  the
                    United States shall disqualify himself in any
                    proceeding  in  which his  impartiality might
                    reasonably be questioned.

          28 U.S.C.   455(a) (1988).

                                          2














          to maintain the action.

                    On  December  19,  1993,  while  Cargill's  motion  was

          pending before him, the district judge to whom  the case had been

          randomly  assigned  became  embroiled  in  what  he  subsequently

          described as a "minor controversy"  relating to his efforts,  and

          those of his wife, to purchase  a new home.  The judge telephoned

          Gerald Petruccelli, a  principal partner in  P&amp;M, and sought  his

          advice  anent the real estate dispute.  Petruccelli agreed to the

          proposed representation, telling the  judge that he (Petruccelli)

          knew of "no impediment" to the relationship.

                    On  December 21, the two  men met for  about 50 minutes

          and  discussed  the judge's  real estate  problem.   A  series of

          telephone  conversations followed  over  the course  of the  next

          eight days.   None lasted  more than five  minutes.   Petruccelli

          dealt  directly with the lawyer who represented the other side in

          the real estate  matter and, on January 6, 1994,  he resolved the

          imbroglio to  the judge's  satisfaction.  Petruccelli  rendered a

          bill, dated  January 7, based on  his standard hourly  rate.  The

          judge paid  the invoice within the  week.  It is  undisputed that

          Petruccelli never represented  the judge in any  other matter and

          that  the judge dealt only  with Petruccelli (not  with any other

          P&amp;M attorney).

                    The  judge  maintains  that,  at the  time  he  engaged

          counsel, he had "no  conscious awareness that Mr. Petruccelli  or

          his firm were involved in this  specific litigation then pending"




                                          3














          before  him.2   Nonetheless,  a few  days  after he  had retained

          Petruccelli,  the  judge asked  his  docket  clerk to  check  his

          calendar for pending cases in which P&amp;M might have appeared.  The

          clerk  brought two such cases  to the judge's  attention at about

          the  time that the  attorney-client relationship  ended.   One of

          these was the case against Cargill.  Although Petruccelli himself

          had played no role in P&amp;M's representation of the plaintiffs, the

          judge decided  that  he  had  best  disclose  his  dealings  with

          Petruccelli.

                    On  January  11,  the  clerk,  acting  at  the  judge's

          direction, notified local  counsel to attend a  conference on the

          following day.  The disclosure conference (a transcript  of which

          comprises the appendix)  proved to be brief.  Attorneys Bates and

          Keating appeared  for the  plaintiffs, and Attorneys  O'Leary and

          Einsiedler (both of Pierce,  Atwood) appeared for Cargill.   When

          advised of the  attorney-client relationship between  Petruccelli

          and  the judge, both  Bates and O'Leary  quickly volunteered that

          their  respective  clients  had   no  objection  to  the  judge's

          continued  participation in the case.  The judge then advised the

          lawyers that  he was grappling  with Cargill's motion  to dismiss

          which, in his view, "raise[d] some very interesting and difficult

          questions."    He forecast  that he  would  hand down  a decision
                              
          ____________________

               2This  declaration,  and other  declarations  reflecting the
          judge's  state  of  mind, are  extracted  from  the  record of  a
          conference held  in this case  (reprinted in the  appendix), from
          the judge's notice  to counsel  (described infra),  and from  the
                                                     _____
          order  denying Cargill's  recusal  motion.   For  the most  part,
          petitioner has not challenged the factual accuracy of the judge's
          statements.

                                          4














          "within a week or so."

                    Precisely one  week thereafter, the judge  issued a 39-

          page rescript  denying Cargill's motion  to dismiss.   While  the

          judge closed his chambers and released his staff on holiday leave

          from  December 24, 1993  through January  3, 1994,  he admittedly

          labored  over the matter during  some portion of  the period when

          Petruccelli represented him.

                    The  filing  of  the   opinion  elicited  no  immediate

          response.   Several  weeks  later, however,  Bernhardt Wruble,  a

          Verner, Liipfert  partner, wrote a letter to  the court asserting

          that,  because  "a  judge's  contemporaneous   representation  by

          opposing counsel is uniformly regarded as a basis  for obligatory

          disqualification,"  the judge  should withdraw his  order denying

          the motion to dismiss, relieve himself of  all responsibility for

          the  case, and reassign it  to another jurist.   Anticipating the

          predictable  reaction  to  this  demand,  Wruble  suggested  that

          Pierce,  Atwood's acquiescence  was of  no  moment.   Since local

          counsel  lacked prior  notice of  the purpose  of the  January 12

          conference and,  hence, had no opportunity to  consult in advance

          with either the client  or lead counsel, Wruble wrote,  the judge

          had  not  afforded petitioner  "adequate  time  for a  considered

          response" to the disclosure.  Thus, there could be no "effective"

          waiver. 

                    The judge did no fewer than three things upon receiving

          Wruble's  communique.   First,  he postponed  a scheduled  status

          conference in the case.  Second, he directed any party who sought


                                          5














          his recusal  to file a formal  motion to that effect.   Third, he

          composed  and served  a  statement, denominated  as  a notice  to

          counsel, in which he  denied "that the Court required  a decision

          on waiver of any objection to the Court's continued participation

          to be made at the conference."  The judge explained that he meant

          the disclosure conference to be informational in nature, that is,

          "to  advise counsel  of  the circumstances  of Mr.  Petruccelli's

          representation and  afford counsel an opportunity  to confer with

          clients and other counsel  to decide whether they wanted  to move

          for recusal or  request other action by  the court."   But, wrote

          the judge, though  he intended to  give counsel  a full month  in

          which to advise him  of their clients' positions with  respect to

          the  disclosed  matter    and,  with  this  in  mind, thought  it

          sensible  to   summon  only  local  counsel   to  the  disclosure

          conference    he did not do so because, immediately following his

          revelation, both  counsel, acting  for their  respective clients,

          spontaneously  disclaimed   any   objection  to   his   continued

          participation in the case.

                    On February 25, 1994,  Cargill asked the district court

          to certify for interlocutory appeal  the January 19 order denying

          the  motion to  dismiss.    See  28  U.S.C.     1292(b)  (1988).3
                                      ___

          Roughly two  weeks later,  Cargill moved for  recusal, proffering

          several affidavits.   Cargill's  motion, like Wruble's  letter of

          February  13, made it clear  that Cargill's position  rested on a
                              
          ____________________

               3The   district  court   eventually   denied  this   motion.
          Petitioner  does not  assign error  to the  denial, nor  could it
          rewardingly do so.

                                          6














          supposed  appearance of  impropriety, that  is, the  existence of

          circumstances  in   which  Cargill  believed  that   the  judge's

          impartiality might  reasonably be questioned.   See  28 U.S.C.   
                                                          ___

          455(a),  quoted supra note 1.   Cargill did  not advance, then or
                          _____

          now,  any claim  of  actual bias.    The plaintiffs  opposed  the

          recusal  motion.   In their  opposition, they made  two principal

          arguments:   (1) Petruccelli's  representation did not  create an

          appearance of  impropriety  within the  meaning  of 28  U.S.C.   

          455(a), and, in any  event, (2) Cargill had waived  any objection

          to  the  judge's continuing  role in  the  case.   The plaintiffs

          hinged the latter  contention on  28 U.S.C.    455(e), a  statute

          that  specifically permits a judge to  accept the parties' waiver

          of   a  section   455(a)  appearance-of-impropriety   ground  for

          disqualification as long  as the  waiver "is preceded  by a  full

          disclosure on the record of the basis for disqualification."

                    On May 12, 1994, the district  court denied the recusal

          motion.  Cargill subsequently filed its mandamus petition in this

          court.   We  invited the  plaintiffs to  respond, set  a briefing

          schedule, and entertained oral argument.

          II.  THE NATURE OF MANDAMUS
          II.  THE NATURE OF MANDAMUS

                    Federal  appellate   courts  are  empowered   to  issue

          prerogative writs that  are "necessary or  appropriate in aid  of

          their  respective  jurisdictions" under  the  All  Writs Act,  28

          U.S.C.     1651(a)  (1988).    Because  such  writs  disrupt  the

          mechanics  of the  judicial  system    by accelerating  appellate

          intervention,  prerogative  writs  foster  piecemeal  review  and


                                          7














          disturb  the historic  relationship between  trial and  appellate

          courts   they should "be used stintingly and brought to bear only

          in  extraordinary  situations."    Doughty   v.  Underwriters  at
                                             _______       ________________

          Lloyd's,  London, 6 F.3d 856,  865 (1st Cir.  1993).  Mandamus is
          ________________

          such  a writ.    It is  strong medicine,  and  should neither  be

          prescribed casually nor dispensed freely.

                    Consistent  with  these principles,  the  standards for

          issuance of the  writ are  high.  A  petitioner seeking  mandamus

          must show both  that there is  a clear entitlement to  the relief

          requested,  and that  irreparable harm will  likely occur  if the

          writ is  withheld.  See United  States v. Horn, 29  F.3d 754, 769
                              ___ ______________    ____

          (1st Cir. 1994); Doughty, 6 F.3d  at 866; In re Pearson, 990 F.2d
                           _______                  _____________

          653,  657 &amp; n.4 (1st Cir. 1993).   Sometimes, even these specific

          showings are not enough to justify a court's  use of its mandamus

          power.   In  the  final  analysis,  a  writ  of  mandamus  is  an

          exceptional remedy and "is to be  granted only in the exercise of

          sound discretion."  Whitehouse v. Illinois Cent. R. Co., 349 U.S.
                              __________    _____________________

          366, 373 (1955).   In  this context, equity  informs the  court's

          discretion.  See Kerr v. United States Dist. Court, 426 U.S. 394,
                       ___ ____    _________________________

          403 (1976); United States v. Helvering, 301 U.S. 540, 543 (1937);
                      _____________    _________

          United States v.  Dern, 289 U.S. 352, 359 (1933); Doughty, 6 F.3d
          _____________     ____                            _______

          at 866; United States  v. Patterson, 882 F.2d 595, 600  (1st Cir.
                  _____________     _________

          1989), cert. denied, 493 U.S. 1027 (1990); In re First Fed.  Sav.
                 _____ ______                        ______________________

          &amp; Loan Ass'n, 860 F.2d 135, 139-40 (4th Cir. 1988); Vishnevsky v.
          ____________                                        __________

          United States, 581 F.2d 1249, 1255 (7th Cir. 1978).
          _____________

                    We  have held that, in an appropriate case, an issue of


                                          8














          judicial    disqualification    may   present    a   sufficiently

          extraordinary  situation  to  justify   the  unsheathing  of  our

          mandamus power.  See In re Allied-Signal, Inc., 891 F.2d 967, 969
                           ___ _________________________

          (1st Cir. 1989), cert. denied, 495 U.S. 957 (1990); In re Cooper,
                           _____ ______                       ____________

          821 F.2d  833, 834 (1st Cir. 1987); In re United States, 666 F.2d
                                              ___________________

          690, 694 (1st Cir.  1981); see also In re  International Business
                                     ___ ____ _____________________________

          Mach. Corp.,  618 F.2d  923, 927  (2d Cir. 1980).   However,  the
          ___________

          usual  prerequisites to mandamus relief   a showing of both clear

          entitlement to the requested  relief and irreparable harm without

          it, accompanied by a favorable balance  of the equities   do  not

          vanish  merely because judicial  disqualification is the business

          of the day.   See, e.g., Allied-Signal, 891  F.2d at 969; Cooper,
                        ___  ____  _____________                    ______

          821 F.2d at 834; In re United States, 666 F.2d at  694.  In other
                           ___________________

          words, the mere fact that a petition for  mandamus is directed at

          securing  the trial  judge's  removal does  not  ensure that  the

          higher court will entertain the petition.

          III.  DISCUSSION
          III.  DISCUSSION

                    After careful perscrutation of the record,  we conclude

          that  petitioner's  quest  for  mandamus  should  go  unrequited.

          Cargill has  shown neither  that it  is clearly  and indisputably

          entitled to  the writ  nor that it  faces an intolerable  risk of

          irreparable harm should it be forced to await appellate review in

          the ordinary course.  Moreover, Cargill's failure  to take timely

          action,  after  learning  of  the judge's  disclosure  and  Maine

          counsel's ensuing waiver of objection, tips the equitable balance

          and argues persuasively against issuance of the writ.


                                          9














                                          A
                                          A

                    We  turn first  to  the matter  of  entitlement to  the

          relief  requested.     Assuming,  arguendo,   that  the   judge's
                                            ________

          relationship   with  Petruccelli   created   an   appearance   of

          impropriety  adequate to animate  section 455(a)    and  we think

          that  it probably  did4    Cargill's entitlement  to an  order of

          disqualification remains questionable.  Regardless of whether the

          actions of its local counsel effected a fully valid waiver of the

          disqualifying circumstance,  the silence of Cargill  and its lead

          counsel  after learning  what had transpired  may very  well have

          added  the missing  element, ratified  the waiver,  and given  it

          life.  We elucidate below.

                    The relevant  statute,  28  U.S.C.     455(e),  plainly

          contemplates that  a party may waive an appearance-of-impropriety

          ground for  disqualification.  The statute itself does not define

                              
          ____________________

               4The  disqualification  requirement  of  section  455(a)  is
          triggered, despite the  lack of  any actual bias  on the  judge's
          part,  if a  reasonable  person, knowing  all the  circumstances,
          would question the judge's impartiality.  See Liljeberg v. Health
                                                    ___ _________    ______
          Servs. Acquisition  Corp., 486  U.S.  847, 861-62  (1988).   Most
          _________________________
          observers would agree that a judge should not  hear a case argued
          by an  attorney who, at the same  time, is representing the judge
          in  a personal matter.   See 13A Charles  Wright &amp; Arthur Miller,
                                   ___
          Federal  Practice and  Procedure    1349,  at 614  (1984) (citing
          ________________________________
          cases).  Although the appearance of partiality is attenuated when
          the lawyer appearing before the judge is a member of the same law
          firm  as  the   judge's  personal  counsel,  but   not  the  same
          individual, many  of  the same  cautionary factors  are still  in
          play.  See,  e.g., 2  Administrative Office of  the U.S.  Courts,
                 ___   ____
          Guide   to   Judiciary  Policies   and  Procedures   V-32  (1995)
          __________________________________________________
          (expressing the  view that "where an attorney-client relationship
          exists between the judge and the lawyer whose law firm appears in
          the case,  the  judge  should  recuse absent  remittal").    This
          principle would seem to have particular force where, as here, the
          law firm is small and the judge's lawyer is a name partner.

                                          10














          the form or  prerequisites of such a waiver;  it only imposes the

          condition  that the waiver be  "preceded by a  full disclosure on

          the  record  of the  basis for  disqualification."   28  U.S.C.  

          455(e).   The transcript of  the January 12  conference leaves no

          doubt that  such a disclosure occurred.   The judge laid  out the

          nature  of his  relationship  with Petruccelli,  citing book  and

          verse.    This disclosure  was  then followed  by  an unequivocal

          statement on  the part  of Cargill's counsel,  unprompted by  the

          court, to  the effect that Cargill did  not object to the judge's

          continued service  in the  case.   Local  counsel reported  these

          developments to  lead  counsel immediately  after the  conference

          ended, and Verner, Liipfert in turn promptly informed the client.

          Yet, for nearly a month thereafter, Cargill failed to express any

          discomfiture with the waiver.

                    Although  we  leave  the  ultimate  question  open  for

          resolution  on  an  end-of-case   appeal,  we  think  that  local

          counsel's unqualified assent, combined with  Cargill's subsequent

          silence  for  a substantial  period  of  time, creates  a  sturdy

          foundation  on which the validity  of the waiver  might rest, and

          that the resultant uncertainty  undercuts Cargill's claim that it

          is plainly entitled  to the requested relief.   After all,  it is

          common ground that  civil litigants ordinarily are bound by their

          attorneys' tactical  judgments, see,  e.g., Brody v.  President &amp;
                                          ___   ____  _____     ___________

          Fellows  of  Harvard  Coll., 664  F.2d  10,  12  (1st Cir.  1981)
          ___________________________

          (holding, on particular facts,  that client would not  be allowed

          "to  second guess his attorney's waiver"), cert. denied, 455 U.S.
                                                     _____ ______


                                          11














          1027 (1982), and waivers based on silence are standard fare, see,
                                                                       ___

          e.g., United States v.  Nobel, 696 F.2d 231,  237 (3d Cir.  1982)
          ____  _____________     _____

          (finding waiver under   455(e) based on party's failure to make a

          timely objection  once the  basis for disqualification  was fully

          disclosed), cert. denied, 462 U.S. 1118 (1983).
                      _____ ______

                    However, Cargill asseverates that no valid waiver could

          be given  by its Maine counsel because the judge failed to follow

          exactly  the  procedures  governing  waivers  of disqualification

          dictated by the Code of Conduct for United States Judges (CCUSJ),

          adopted by the Judicial Conference of the United States following

          promulgation  by  the  American  Bar  Association.    See  CCUSJ,
                                                                ___

          reprinted in 150 F.R.D. 307 (1992).  Canon 3D of the CCUSJ allows
          _________ __

          a judge to hear a case if  the parties and their lawyers agree to

          the  judge's  continued  service  not only  after  disclosure  of

          certain  bases  for  disqualification  (including  appearance  of

          impropriety), but also after having been afforded "an opportunity

          to confer  outside the presence  of the  judge[.]"   Id. at  313.
                                                               ___

          Here, what transpired at the  disclosure conference met the first

          requirement of Canon 3D, but not the second.

                    However,   even  if   we  assume  arguendo   that  this
                                                      ________

          noncompliance rendered the  original waiver ineffective,5 counsel
                              
          ____________________

               5Although  we need not decide the point, we doubt that every
          instance of noncompliance with  the CCUSJ automatically justifies
          post-hoc invalidation  of a waiver that otherwise  meets the test
          of section 455(e).  Certainly, the  case law on the point is less
          than transpicuously clear.   See,  e.g., Nobel, 696  F.2d at  237
                                       ___   ____  _____
          (explaining that "it is sufficient under  [section 455(e)] if the
          judge  provides full disclosure of  his or her  relationship at a
          time early  enough to form  the basis  of a timely  motion at  or
          before  trial  and under  circumstances  which  avoid any  subtle

                                          12














          thereafter  had  ample  opportunity  for  consultation  with  the

          client, outside the  presence of the judge,  yet Cargill, knowing

          of the  stated  waiver, did  not alter  its position.   When  the

          judge's  departure from the CCUSJ is weighed in the balance along

          with his explanation and  Cargill's knowing acquiescence in local

          counsel's express waiver, the call seems to us to be quite close.

          This closeness  sets a  chain reaction  in motion.   It leads  us

          first   to  conclude  that  the  contested  waiver  may  well  be

          enforceable, and constitutes, at the least, a potential stumbling

          block  on  the  road to  recusal.    The  first conclusion  leads

          inexorably to a second conclusion:  that petitioner has failed in

          its endeavor to demonstrate that it is "clearly and indisputably"

          entitled to the relief that it seeks.

                    To be sure, Cargill has  attempted to explain away  its

          apparent ratification  of the position taken by its local counsel

          both  factually  (through a  series  of  affidavits) and  legally

          (through  its insistence  on literal  compliance with  Canon 3D).

          Its factual explanations and  legal theories may or may  not hold

          water in the long run,  but that is scarcely the point.   We need

          not   and  do not   decide the  merits of the waiver  question at

          this juncture.  It  suffices for present purposes merely  to note

                              
          ____________________

          coercion"); Haire  v.  Cook, 229  S.E.2d 436,  438-39 (Ga.  1976)
                      _____      ____
          (similar;  construing Georgia  law); Commonwealth v.  Cagney, 329
                                               ____________     ______
          N.E.2d 778, 781 (Mass.  1975) (Goodman, J., concurring) (similar;
          construing Massachusetts law).  Notwithstanding the importance we
          attach  to  the CCUSJ  and the  obvious desirability  of assuring
          judicial  compliance with the canons, we  think a strong argument
          can  be made  that not  all instances  of noncompliance  with the
          CCUSJ are automatic disqualifiers.

                                          13














          that the issue is sufficiently clouded that petitioner's eventual

          entitlement  to  the requested  redress     the district  judge's

          recusal   is  problematic.6  See Pearson, 990 F.2d  at 656 &amp; n.4;
                                       ___ _______

          Cooper, 821 F.2d at 834.
          ______

                                          B
                                          B

                    Petitioner suggests that recusal  of a judge presents a

          special  circumstance  which,  even   in  the  absence  of  clear

          entitlement  to  the  requested  relief,  warrants  interlocutory

          review  by way  of  mandamus.   This  suggestion is  not  without

          force.7  In cases in which  parties have sought recusal based  on

          assertions  of actual  bias, we  have stated  that "the  issue of

          judicial  disqualification  presents  an extraordinary  situation

          suitable for the exercise  of our mandamus jurisdiction."   In re
                                                                      _____

          United States, 666 F.2d at 694.
          _____________

                              
          ____________________

               6Because we  find no  clear and indisputable  entitlement to
          the  requested  relief,  we  need not  consider  whether  Cargill
          satisfied  the second prong of the  mandamus test by a showing of
          irreparable  harm.   We  note,  however, that  although  there is
          always some harm  in litigating for nought,  that harm repeatedly
          has  been  held  insufficient,  in itself,  to  justify  mandamus
          relief.  See,  e.g., In re Bushkin Assocs., 864  F.2d 241, 243-44
                   ___   ____  _____________________
          (1st Cir. 1989).

               7In  the same vein, however, we can envision cases in which,
          despite  a   showing  that  ordinarily  would   amount  to  clear
          entitlement,  a  litigant  has   acted  so  deplorably  that  the
          petitioned court  might choose to withhold  discretionary relief.
          See  generally  Precision  Instrument  Mfg. Co.  v.    Automotive
          ___  _________  _______________________________      ____________
          Maintenance Mach. Co., 324 U.S. 806, 814  (1945) (explaining that
          _____________________
          the  doctrine of  unclean hands "closes  the doors of  a court of
          equity to  one tainted with inequitableness or bad faith relative
          to the matter  in which  he seeks relief");  Texaco Puerto  Rico,
                                                       ____________________
          Inc. v. Department  of Consumer  Affairs, 60 F.3d  867, 880  (1st
          ____    ________________________________
          Cir. 1995)  ("It is old hat that a court called upon to do equity
          should always consider whether the petitioning party has acted in
          bad faith or with unclean hands.").

                                          14














                    Our rationale  in these  cases has been  that "[p]ublic

          confidence  in the  courts may  require that  such a  question be

          disposed of at the  earliest possible opportunity."  In  re Union
                                                               ____________

          Leader Corp., 292  F.2d 381,  384 (1st Cir.),  cert. denied,  368
          ____________                                   _____ ______

          U.S. 927 (1961).  However, we have cautioned that this philosophy

          does not "commit us  to entertaining every rejected affidavit  of

          prejudice," and  we have made it clear that, even when a mandamus

          petition  seeks a judge's recusal based on an assertion of actual

          bias,  mandamus remains "a discretionary writ."  Id.  Because its
                                                           ___

          origins  are equitable in nature, the writ should issue to remedy

          a wrong, not to  promote one   and it  should not "be granted  in

          aid of  those  who do  not  come into  court  with clean  hands."

          United States v. Fisher, 222 U.S. 204, 209 (1911).
          _____________    ______

                    In  this  case,  principles of  equity  caution against

          exercising discretion to reach out for the disqualification issue

          here and now.   To explain  why, we must  remind the reader  that

          mandamus is a potent weapon.  Precisely because the  writ packs a

          considerable wallop, litigants are sometimes tempted to employ it

          for its strategic value, regardless of the merits of their cause.

          See  Allied-Signal, 891 F.2d at 970; In re Drexel Burnham Lambert
          ___  _____________                   ____________________________

          Inc.,  861 F.2d 1307, 1312-16  (2d Cir. 1988),  cert. denied, 490
          ____                                            _____ ______

          U.S.  1102 (1989).   Ignoring  this possibility  when, as  now, a

          petition  for  mandamus seeks  the  disqualification  of a  judge

          shortly  after the  judge  decides  a  major  point  against  the

          petitioner would be to blink reality.  In the real world, recusal

          motions are  sometimes driven more by  litigation strategies than


                                          15














          by ethical concerns.

                    In such straitened  circumstances, appellate  tribunals

          must  be especially alert to the dangers of manipulation.  Courts

          can  ill afford  to permit  mandamus to  be used  as a  tactic to

          jettison an impartial judge  whose slant on a case,  as evidenced

          by  his  rulings,  jeopardizes  a party's  chances  for  ultimate

          success.  See In re United Shoe Mach. Corp., 276 F.2d 77, 79 (1st
                    ___ _____________________________

          Cir. 1960)  ("We cannot permit a litigant to test the mind of the

          trial judge like  a boy testing  the temperature of the  water in

          the pool with  his toe, and  if found to  his liking, decides  to

          take a plunge.") (citation and internal quotation marks omitted);

          cf. Reilly v. United  States, 863 F.2d  149, 160 (1st Cir.  1988)
          ___ ______    ______________

          (explaining that "when  a trial judge announces a proposed course

          of  action which litigants  believe to be  erroneous, the parties

          detrimentally affected  must act expeditiously to  call the error

          to  the judge's attention or to cure  the defect, not lurk in the

          bushes waiting  to ask  for another trial  when their  litigatory

          milk curdles").  By like  token, courts cannot afford to  spawn a

          public  perception that  lawyers  and litigants  will benefit  by

          undertaking such machinations.

                    This  case runs  up just  such a  red flag.   While the

          record does not  compel a  finding that petitioner  and its  lead

          attorneys delayed  any attempt to retract  Maine counsel's waiver

          as part of  a plot to await the results  of the judge's impending

          decision,  the  chronology is  suggestive.    The scenario  lends

          itself to the following description:  Cargill, armed with all the


                                          16














          relevant  facts no  later than  January 14  and knowing  that the

          judge planned to  decide the  key motion in  the case during  the

          following   week,8   held  its   "appearance-of-impropriety"  and

          "invalid  waiver"  arguments  in  reserve,  deferred any  recusal

          initiative,  awaited the ruling  on the motion  to dismiss, found

          that ruling  to be  greatly disappointing,  and  then pulled  the

          recusal  option off  the  shelf  in  hopes  of  locating  a  more

          sympathetic trier.

                    Of  course,  Verner,   Liipfert  tries  strenuously  to

          explain away this  chain of  events.  The  firm's attorneys  have

          regaled us with descriptions of  both their busy travel schedules

          and the inclement weather that struck the nation's capitol during

          January of 1994.   But even if  we were to take  these excuses at

          face  value, they are simply not sufficient to justify the firm's

          decision to sit silently by until the judge had showed his hand.

                    We believe  it is  self-evident that, once  Cargill was

          aware of the details surrounding  Petruccelli's relationship with

          the judge, it  should at a bare minimum have  told the court that

          it  wanted time to rethink its options  and sought a delay in the

          issuance of the court's  opinion (which it knew to  be imminent).

          In all probability,  it would have taken no more than a telephone


                              
          ____________________

               8The various  affidavits submitted by the  petitioner to the
                                                  __________________
          district court  establish that on Wednesday, January 12, the very
          day  that  the disclosure  conference  was  held, Pierce,  Atwood
          informed Verner,  Liipfert of what had  transpired, including the
          judge's plan to issue his decision in approximately one week.   A
          corporate  official  was told  of  the  situation  no later  than
          Friday, January 14.

                                          17














          call  or  a facsimile  transmission  to place  matters  on hold.9

          Thus, putting the  most favorable  face on the  situation, it  is

          apparent  that Cargill and its lead counsel neglected to act with

          the immediacy that the circumstances obviously required.

                    Our need  to exercise  discretion also demands  that we

          take a related point into account.  The case at hand is different

          than  our earlier precedents in several respects.  First, it does

          not  involve a  claim of  actual bias,  and, thus,  it lacks  one

          important  ingredient  that in  the  past  often prompted  us  to

          undertake  review  of  judicial  disqualification orders  at  the

          earliest  practicable time.  See  Union Leader, 292  F.2d at 384.
                                       ___  ____________

          When  issuing the writ is necessary  to promote public confidence

          in  the courts by avoiding the unseemly spectacle of trial before

          a biased judge, the need  for immediate relief is manifest.   See
                                                                        ___

          In re  United  States,  666 F.2d  at  694.   These  concerns  are
          _____________________

          lessened  where,  as  here,  there  is  neither  a  trace  nor  a

          suggestion  of actual bias.  Second,  in this case, the party who

          now claims  to be aggrieved earlier had made an express waiver of

          the stated  ground for disqualification.  This,  too, changes the

          calculus of public perception.

                    Last,  but  far  from  least,  petitioner's  course  of

          conduct    whether conniving or  merely slipshod   influences our

          assessment of the equities.  Its handling of the matter places us

                              
          ____________________

               9Cargill suggests that it  might have offended the  judge by
          taking  such  action.    We  think  its  concerns are  overblown:
          lawyers run such a  risk every time they seek  a judge's recusal.
          In any event, trial advocacy is no sport for the timorous.

                                          18














          between  Scylla  and  Charybdis:   if  we  do  not entertain  the

          petition, we run a risk of seeming hesitant to inquire too deeply

          into a possible abuse of judicial power; yet, if we entertain the

          petition despite  the appearance of sandbagging  that Cargill has

          created, we run a risk of eroding public confidence in the courts

          by seeming to reward a litigant for its gamesmanship.

                    Given  the  fundamental nature  of  mandamus, declining

          jurisdiction  in the  exercise of  our informed  discretion seems

          preferable.  Though it  might be mere coincidence that  the delay

          in  seeking to set aside the waiver worked to Cargill's advantage

          by  allowing  it to  see which  way the  wind was  blowing before

          deciding  whether  to  urge  recusal, the  appearance  of  judge-

          shopping is  sufficiently pronounced  that  the equities  counsel

          restraint.  See, e.g., Apple v. Jewish Hosp.  &amp; Medical Ctr., 829
                      ___  ____  _____    ____________________________

          F.2d 326, 334 (2d Cir. 1987)  (noting that a "movant may not hold

          back and wait, hedging  its bets against the  eventual outcome");

          Phillips  v. Amoco Oil Co., 799  F.2d 1464, 1472 (11th Cir. 1986)
          ________     _____________

          ("Counsel,  knowing  the facts  claimed  to  support a     455(a)

          recusal for appearance of partiality may not lie in wait, raising

          the  recusal issue only after  learning of the  court's ruling on

          the merits."), cert.  denied, 481  U.S. 1016 (1987).   We  simply
                         _____  ______

          cannot  afford to nourish the  impression that the  courts, as an

          institution, will  bend over backward, overlook  the obvious, and

          countenance sharp tactics merely  because they are directed at  a

          judge.

          IV.  CONCLUSION
          IV.  CONCLUSION


                                          19














                    We  need go no further.  Petitioner has neither met the

          conventional requirements  for mandamus  relief nor  satisfied us

          that,  in the  unique  circumstances of  this case,  the equities

          favor an  affirmative exercise of our  discretion.  Consequently,

          we  deny the petition,  without prejudice  to Cargill's  right to

          raise its  claim of error,  if it so  chooses, in  an end-of-case

          appeal.10



                    The petition for a writ of mandamus is denied.
                    The petition for a writ of mandamus is denied.
                    _____________________________________________







                Appendix follows; dissenting opinion follows appendix  








                              
          ____________________

               10Just  as orders  disqualifying or  refusing to  disqualify
          counsel  "can be  reviewed as  effectively on  appeal of  a final
          judgment as on an interlocutory appeal," Richardson-Merrill, Inc.
                                                   ________________________
          v. Koller,  472 U.S. 424, 438 (1985), we see no reason why orders
             ______
          pertaining  to  judicial disqualification  cannot  be effectively
          reviewed at that  time and in that manner.   Nor is this scenario
          oddly  configured.  An end-of-case  appeal is a  matter of right,
          while mandamus is a matter of discretion.  Courts have frequently
          found  that difference  dispositive  in analogous  circumstances.
          See, e.g., Allied  Chem. Corp. v. Daiflon, Inc.,  449 U.S. 33, 34
          ___  ____  ___________________    _____________
          (1980) (per curiam);  In re  Bushkin Assocs., 864  F.2d 241,  244
                                ______________________
          (1st Cir. 1989).   And, moreover, the fact  that a lengthy  trial
          has intervened will not rob an appeal of its effectiveness.  See,
                                                                       ___
          e.g.,  Stauble  v. Warrob,  Inc., 977  F.2d  690 (1st  Cir. 1992)
          ____   _______     _____________
          (vacating  judgment  on  direct appeal  following  35-day  trial,
          despite  the circuit court's earlier denial of mandamus relief on
          the same ground).

                                          20














                                       APPENDIX
                                       APPENDIX

                                 CHAMBERS CONFERENCE
                                 CHAMBERS CONFERENCE

                                   January 12, 1994
                                   January 12, 1994



                    THE COURT:  This is  a very simple matter,  I
                    THE COURT:

                    think.     At   least  the  reason   for  the

                    conference,  so  you  don't have  to  get all

                    excited  about it,  is because  Mr. Bates  is

                    counsel  in   this  matter   and  I   have  a

                    disclosure that I must make to counsel.



                    Approximately on December  19th, 1993,  while

                    Mrs.  Carter  and I  were  in  the course  of

                    looking  for   a  new  house,  I   got  in  a

                    controversy  with a  party in  a contract,  a

                    purchase and sale, a minor controversy.



                    I, on  that date, called  Gerald Petruccelli,

                    Mr. Bates's  partner, and  I asked him  if he

                    could give me advice and perhaps represent me

                    if it came to that.



                    He called  me back on December  20th and said

                    that he had  decided there was no  impediment

                    to this representation of me.  I met with him

                    on December 21 for about 45 to 50 minutes, we


                                          21














                    discussed  the matter.    I told  him that  I

                    wanted a quick resolution - I should practice

                    what I preach.



                    I  had telephone  conferences with  him about

                    the  matter on  December 22,  23, 28  and 29,

                    four or  five minutes a piece.   I understand

                    from  him that  he had  telephone conferences

                    during  that  period  of  time  with  another

                    attorney and on January 6th, 1994, the matter

                    was resolved to my satisfaction.  On the 7th,

                    Mr. Petruccelli  rendered to me  his bill and

                    on the 10th, that bill was paid in full.



                    The  understanding at  the conference  that I

                    had with him on the 21st of December was that

                    I  would  pay  the  usual   rate,  usual  fee

                    computed at  the  usual hourly  rate for  the

                    hours of  devotion to the case  that he would

                    charge to any stranger off the street.  And I

                    was  very serious  about that,  and  I'm sure

                    that he was and I think the bill was entirely

                    satisfactory one to me,  and I have no reason

                    to  expect that it is to him.   So we have no

                    kind of debt of any kind to each other out of

                    this very brief transaction.


                                          22














                    I will tell you that I am morally certain  in

                    my own  mind that this series  of events will

                    not  in any way affect  my ability in the way

                    I would find it  to be properly decided, even

                    if the event had not occurred.



                    However,   under  the  code,  the  canons  of

                    judicial  conduct,  I felt  arguably perhaps,

                    but  I  felt  that  it  was  proper,  perhaps

                    required, but at least proper that I disclose

                    it and see if anyone  has any objection in my

                    continuing  to serve  as  the judge  who will

                    ultimately decide this case.



                    MR  BATES:   Speaking for  the plaintiff,  we
                    MR  BATES:

                    have absolutely no objection.



                    THE  COURT:  The  record should  also reflect
                    THE  COURT:

                    that I  never had any  conversation with  Mr.

                    Bates or  anyone  else of  Mr.  Petruccelli's

                    office.



                    MR. O'LEARY:  Speaking for the defense, there
                    MR. O'LEARY:

                    is no objection.






                                          23














                    THE  COURT:    I  wanted you  to  know  this.
                    THE  COURT:

                    That's all  I have.   We  have been  for some

                    time  - I have been in  the course of dealing

                    with   motions   which   raise    some   very

                    interesting  and  difficult  questions and  I

                    expect  that within a week or so I will be in

                    a position to file a decision resolving that,

                    so the  matter can  go forward.   I apologize

                    having held the matter up that long but these

                    are very tough  things, not matters of  first

                    impression,  and  I  don't  have  a   lot  of

                    guidance by better judges than I.



                    MR. O'LEARY:  Thank you.
                    MR. O'LEARY:



                    MR. BATES:  We appreciate it.
                    MR. BATES:



                    THE  COURT:   Thank you  very much.   Another
                    THE  COURT:

                    matter, the Graffam, matter, is scheduled for

                    trial, which  is in your office  on the other

                    side, you might just talk with them about it,

                    Bill  Kayatta,  apprise   him  of  what   has

                    happened  and tell  him that  matter is  also

                    scheduled for conference for the same purpose

                    so he can have a chance to reflect on it.




                                          24














                    MR. BATES:   I don't know that  this needs to
                    MR. BATES:

                    be a part of  the record.  I know  that Gerry

                    told  me  that  he  was going  to  call  Bill

                    Kayatta, and did so.



                    THE COURT:  Gerry  did call and tell me  that
                    THE COURT:

                    he had  called someone  to see if  that would

                    create,  if  his representation  would create

                    any problem  and I  didn't know what  case it

                    was about or who  the lawyer was.  Ultimately

                    he called  me back  and told  me that  he had

                    found no impediment to his representation.



                    MR. O'LEARY:  I appreciate the disclosure.
                    MR. O'LEARY:



                    [End of conference]






















                                          25















                      CAMPBELL,   Senior  Circuit   Judge,  (dissenting).
                                  _______________________

            While  the question  is exceedingly  close,  I regret  that I

            cannot  agree with the court.   The court's  opinion would be

            persuasive if  written before the Judicial  Conference of the

            United States had adopted Canon 3D of the Code of Conduct for
                                                      ___________________

            United States Judges.  But the court's opinion seems to me to
            ____________________

            pay  too little attention to  the district court's failure to

            have observed the Canon.  Canon 3D provides,

                      A  judge  disqualified  by the  terms  of
                      Canon 3C(1), except in  the circumstances
                      specifically set out  in subsections  (a)
                      through (e) may,  instead of  withdrawing
                      from  the  proceeding,  disclose  on  the
                      record the basis of disqualification.  If
                                                             __
                      the parties and  their lawyers after such
                      _________________________________________
                      disclosure and an  opportunity to  confer
                      _________________________________________
                      outside of the presence of the judge, all
                      ____________________________________
                      agree in  writing or on  the record  that
                      the judge should not be disqualified, and
                      the judge is then willing to participate,
                      the   judge   may   participate  in   the
                      proceeding.    The  agreement   shall  be
                      incorporated   in   the  record   of  the
                      proceeding.  (emphasis added).

            Canon 3D applies squarely  to the situation here, in  which a

            judge  has  sought  the  parties'  waiver  of  his  mandatory

            disqualification under   455(a).  Congress expressly allows a

            judge  to accept  a waiver  of his  disqualification  under  

            455(a)  (appearance  of lack  of  impartiality) although  not

            under   455(b) (bias,  personal knowledge of facts, financial

            interest, etc.).  See 28 U.S.C.   455(e).  But while   455(e)
                              ___

            specifies no  more  than that such waiver  be preceded "by  a

            full   disclosure   on   the   record  of   the   basis   for


                                         -26-
                                          26















            disqualification," the  judiciary is also subject  to its own

            Canon 3D  which imposes  additional conditions that  were not

            followed  here.  For that reason, I disagree that the parties

            ever effectively waived the duty imposed by   455(a) that the

            judge disqualify himself.  

                      I  make two  points at  the outset.   First,  as my

            colleagues seem  to concede,  the judge's employment,  as his

            own   lawyer,  of  the   senior  partner  of   the  law  firm

            representing  plaintiffs at  the  time he  was considering  a

            major dispositive motion in plaintiffs' lawsuit, gave rise to

            a  reasonable question  of his  impartiality under    455(a).

            While this  was hardly a  major indiscretion as  such matters

            go,  it  was  the  kind of  conduct  that  gives  rise to  an

            appearance  of  impropriety.     Our  court  is  in  apparent

            agreement  as to  the  applicability of    455(a).   However,

            because the  district court  felt otherwise, and  because the

            issue deserves  consideration, I  have stated my  reasons for

            finding that   455(a) applies in an appendix to this dissent.

            Section 455(a)  required the judge to  disqualify himself sua

            sponte unless he received  and accepted an appropriate waiver

            from the parties.

                      A  second  point is  that  the  proceedings at  the

            January  12 conference     at  which the  judge candidly  and

            commendably disclosed  the matter    omitted  to follow Canon

            3D  in basic  ways.   Canon 3D  was developed  to offset  the



                                         -27-
                                          27















            criticism  that  otherwise   disqualified  judges   sometimes

            secured the parties'  agreement to allow them to  continue in

            cases by taking advantage  of counsel's natural reluctance to

            offend  a judge  before whom they  frequently had  to appear.

            The  original language of Canon  3D was drafted  by a special

            committee  of the  American  Bar Association  chaired by  the

            former  chief justice  of  the Supreme  Court of  California,

            Justice Traynor.   Justice Traynor emphasized  that, before a

            valid waiver could occur, counsel must receive an opportunity

            to confer  with their  clients outside the  judge's presence.

            The special committee  also believed that the client  as well

            as counsel had to be involved in the waiver  decision, as the

            "parties  are  less  likely  than counsel  to  feel  judicial

            pressure [to  remain in  the case]  . . . ."   Broadening and
                                                           ______________

            Clarifying   the   Grounds  for   Judicial  Disqualification:
            _____________________________________________________________

            Hearing  on  S. 1064  Before  the Subcomm.  of  Courts, Civil
            _____________________________________________________________

            Liberties and  the Administrative Justice of  the House Comm.
            _____________________________________________________________

            on the Judiciary, 93d Cong., 2d Sess. (1974). 
            ________________

                      The Canon serves in  part to dispel counsel's sense

            that by failing immediately  to endorse the judge's continued

            presence  in the  case,  counsel might  annoy  the judge  and

            prejudice their  cause.   Under  the Canon,  counsel must  be

            extended  an  opportunity  to  consider  the disqualification

            issue outside the judge's presence, hence free from  the fear





                                         -28-
                                          28















            that any hesitancy to  endorse the judge's continued presence

            may be personally held against him.

                      In the  present case,  the judge never  stated that

            local    counsel   was   free   to   withdraw   and   discuss

            disqualification with  his client and co-counsel.   The judge

            knew or should  have known at this  time that counsel had  no

            prior  opportunity to discuss the issue with his client.  The

            judge had  not  disclosed the  subject of  the conference  in

            advance.   Local counsel  had made  express  inquiry the  day

            previous as to what the January 12 meeting would be about and

            could  learn nothing.    Counsel, therefore,  could not  have

            discussed the issue with his client and lead counsel prior to
                                                                 _____

            the meeting.  When  he came to the conference,  local counsel

            had to react on the spur  of the moment, without knowing what

            rights the  judge was prepared to  recognize, without knowing

            whether the  judge would recuse himself  if counsel objected,

            and without reassurance from the court that, without offense,

            local counsel would be given a chance to consider this matter

            with his client outside of the court's presence.  The express

            language  of  the  Canon,   conditioning  a  waiver  upon  an

            opportunity to  confer with  the parties and  counsel outside

            the judge's  presence, was  not, in these  circumstances, put

            into play.  

                      In hindsight, to be  sure, local counsel could have

            sought  to save the situation  by requesting time  to talk to



                                         -29-
                                          29















            lead  counsel and his client    a request the judge indicates

            he  would have granted.  However, without the judge's advance

            advice, counsel would not necessarily  be expected to know of

            his rights under  Canon 3D, or  indeed to know that  Canon 3D

            existed  at all.  Moreover, counsel may have felt that, where

            the judge stated that the disclosed conduct would  not affect

            his ability  to  decide  the case,  and  indicated  no  clear

            willingness  to withdraw,  any hesitancy  would simply  be an

            irritant.  The duty to  extend the benefits of this Canon  to

            the parties  rests upon the  judge.  Here  the judge did  not

            mention  the provisions of the Canon nor indicate what rights

            he would recognize.  

                      In  such circumstances,  I think  it plain  that no

            waiver occurred on January 12.   In fact, the scenario at the

            January 12 conference was  exactly the one that Canon  3D was

            intended to change.   The drafters of Canon 3D thought that a

            judge who simply announced disqualifying facts, indicated his

            desire to  continue to serve, and solicited and accepted oral

            waivers  from the  attorneys present,  might be  exercising a

            "velvet blackjack."   Broadening  and Clarifying  the Grounds
                                  _______________________________________

            for Judicial Disqualification:  Hearing on S. 1064 Before the
            _____________________________________________________________

            Subcomm. of Courts,  Civil Liberties  and the  Administrative
            _____________________________________________________________

            Justice  of the House Comm.  on the Judiciary,  93d Cong., 2d
            _____________________________________________

            Sess. (1974).   Canon 3D,  by requiring  discussion with  the

            clients outside  the judge's  presence and, by  requiring the



                                         -30-
                                          30















            clients' acquiescence as well  as that of counsel,  sought to

            ease the  pressures to  acquiesce that inhered  in the  "old"

            process.  

                      It is true that the Code of Judicial Conduct is not

            statutory,  nor does  the Judicial  Conference of  the United

            States which adopted the Code hold a specific statutory grant

            of authority to  enact binding ethical  rules.  However,  the

            Conference is itself a  creature of statute.  See 28 U.S.C.  
                                                          ___

            331.  Chaired by the Chief Justice, the Conference is the one

            body recognized  as speaking administratively  for the entire

            federal  judiciary.   Its adoption  of  Canon 3D,  I suggest,

            gives the  Canon great persuasive weight.   Additionally, the

            provisions  of Canon  3D emanated from  a model  ethical code

            drafted by the American Bar Association and adopted in one or

            another version, by many  states.  It is important,  I think,

            to our institutional credibility, that the procedures set out

            in Canon 3D of  the Code of Conduct for United  States Judges

            be taken seriously.

                      As,  in  my view,  no waiver  occurred by  force of

            local  counsel's acquiescence  on  January  12, the  question

            arises  whether some kind of de facto waiver or equitable bar

            should be  implied from Cargill's failure  to object promptly

            to the judge's continued participation once its local counsel

            had told it of the judge's disclosures.  Cargill also learned

            at the January 12 conference that the judge was about to hand



                                         -31-
                                          31















            down  his ruling.    If Cargill  did  not want  the judge  to

            participate, my colleagues believe that Cargill  was required

            to protest then and  there, rather than strategically waiting

            to  see how  the wind blew,  objecting     as it  did    only

            after the judge had ruled against it.

                      This  is  a close  question.    There is  certainly

            weight to my  colleagues' view that  Cargill may be  misusing

            the  Canon  now for  purely strategic  purposes.   It  can be

            implied,  moreover,  that  the  district  court having  fully

            revealed the  conduct in question,  sincerely, if incorrectly

            under  the Canon,  relied  on local  counsel's approval,  not

            withdrawn,  as  sanctioning  the court's  continuance  in the

            case.   But while reasonable minds may differ, I believe that

            the court's failure to follow Canon 3D's waiver procedures so

            clouded future events as to make it inappropriate to read too

            much   into  Cargill's  failure   to  challenge  the  judge's

            continued participation during the  week prior to the court's

            ruling on the  motion.   A primary purpose  of the  procedure

            outlined in the Canon  is to remove, or  at least to  lessen,

            the  pressure of the judge's feared resentment if a waiver is

            not quickly  volunteered.   This lessening of  pressure would

            not have happened here.  The Canon anticipates that the court

            will reassure attorneys in advance of their right to speak to

            their clients out  of the  judge's presence.   Also that  the

            judge  will inform counsel that he will withdraw if waiver is



                                         -32-
                                          32















            not  granted, or, at least, of his intentions in this regard.

            In  the  present case,  by the  time  Cargill learned  of the

            judge's stated  grounds for disqualification,  the judge  had

            already made the  decision not  to recuse himself.   At  that

            point, Cargill had no assurance that its repudiation of local

            counsel's acquiescence  would be honored.   It had  to decide

            whether  to risk angering the  judge futilely at  a time when

            the matter seemed to  have been settled and a decision on its

            motion was imminent.  

                      To  be sure,  Cargill's  local counsel  could  have

            acted differently.   It is often  true    and properly  so   

            that a client is bound by positions taken or not taken by his

            attorney.  Canon  3D makes it  clear, however, that  attorney

            acquiescence, standing  alone, is not enough  to constitute a

            waiver.  Local  counsel's acquiescence followed by  Cargill's

            reluctance to object cannot be disassociated from the judge's

            initial  failure  to  implement  the  Canon  provision      a

            provision   that  the   judge  himself  is   responsible  for

            explaining and implementing in the first instance.  Canon 3D,

            setting  out the requirements for  a judge to  secure a valid

            waiver of his own disqualification, is not mere grist for the

            adversarial mill.  Rather, it is  a rule of conduct the judge

            is supposed to know and apply.  While Cargill's counsel might

            have saved the situation, responsibility for the error should

            not too  easily be  shifted to  the shoulders  of one  of the



                                         -33-
                                          33















            parties.    Given the  altered situation  confronting Cargill

            once the die had been  cast on January 12, I am  not disposed

            to  find  that  Cargill  ratified  local  counsel's   earlier

            acquiescence simply  by taking  no action before  the court's

            decision.  

                      Cargill, to  be sure, had  to act diligently  if it

            wished  to  challenge the  judge.   Delay  would  soon become

            unfair to  Cargill's opponent,  who would continue  to invest

            money  and  effort  into the  lawsuit  in  reliance  upon the

            continued service of  the judge in  question.  But  Cargill's

            raising of  an objection  within a month  after the  decision

            seems to me to be acceptable given that the initial error was

            that of  the judge, not Cargill.   In so  saying, I recognize

            the validity of my colleagues'  concern that Cargill may well

            be acting strategically, and that courts are, and  should be,

            reluctant to allow  two bites at the apple.  But against this

            must be weighed the nonobservance of Canon 3D.

                      As    455(a) applied and, in my view, no sufficient

            waiver  occurred  under     455(e), the  question  of  remedy

            arises.   In Liljeberg v. Health Serv. Acquisition Corp., 486
                         _________    ______________________________

            U.S. 847, 862-64 (1988), the Supreme Court wrote:

                      A  conclusion that a [  455(a)] violation
                      occurred  does  not,  however,   end  our
                      inquiry.  As in other  areas of  the law,
                      there is surely  room for harmless  error
                      committed    by     busy    judges    who
                      inadvertently  overlook  a  disqualifying
                      circumstance.     There  need  not  be  a
                      draconian remedy for every violation of  


                                         -34-
                                          34















                      455(a)  . . . .    We  conclude  that  in
                      determining whether a judgment  should be
                      vacated  for a violation  of   455(a), it
                      is  appropriate to  consider the  risk of
                      injustice   to   the   parties   in   the
                      particular case, the risk that the denial
                      of relief will produce injustice in other
                      cases,  and the  risk of  undermining the
                      public's   confidence  in   the  judicial
                      process.

            See also In re Allied-Signal, Inc., 891 F.2d 974, 975-76 (1st
            ________ _________________________
            Cir. 1989).

                      For a new judge  to be brought in at  this juncture

            would not, in my view,  be a draconian remedy, nor a  license

            for  unwarranted attacks on courts.  To be sure, the question

            that arose  here    the judge's  brief use of the  senior law

            partner  in the same law  firm retained by  plaintiffs    was

            not  monumental and  quite likely would  have been  waived by

            Cargill  in a  proper proceeding.   Moreover,  evidencing his

            integrity, the judge quickly called a conference and revealed

            all the  relevant facts.  Nonetheless,  the judge's retention

            of Mr. Petruccelli  at the  time of the  pending lawsuit  did

            create the  appearance of  lack of impartiality;  and section

            455(a) required the  judge to step  aside unless he  received

            proper waivers from the parties.  As this did not occur here,

            and as  the case is still at an early stage, I think it would

            be reasonable for  another judge  to enter the  case.   While

            this imposes some small price on the court and plaintiffs, it

            is justified as demonstrating the need to observe  the Canon.





                                         -35-
                                          35















                      I  would add  that,  had mandamus  requiring a  new

            judge been  granted, it would have been open to this court to

            let stand  the former  judge's ruling on  Cargill's dismissal

            motion.  Whether to do this would have been a close question,

            but, however that issue  were resolved, the bringing in  of a

            new judge would have emphasized that Canon 3D  procedures are

            not precatory.  

                      I  do  not   take  too  seriously  my   colleagues'

            suggestion  that this  issue may  be revisited  several years

            down  the  road  on direct  appeal  from  any final  judgment

            rendered  in  plaintiffs' favor.    By  then  there would  be

            overwhelming  equities in  plaintiffs' favor  not  to require
                                                          ___

            them to undergo the  expense and burden of retrying  the case

            before a different judge.  The Supreme Court has stated "that

            in determining  whether a judgment  should be  vacated for  a

            violation of   455(a), it is appropriate to consider the risk

            of  injustice to the parties."   Liljeberg, 486  U.S. at 864.
                                             _________

            Mandamus has been properly recognized as the usual and proper

            remedy  for  raising and  resolving  promptly  a question  of

            judicial disqualification such as this.  See, e.g., Alexander
                                                     ___  ____  _________

            v.  Primerica Holdings, Inc., 10 F.3d 155 163 (3d Cir. 1993);
                ________________________

            In re  United States, 666 F.2d  690, 694 (1st Cir.  1981).  I
            ____________________

            would  expect  that  the  court's decision,  which  has  been

            rendered after the most  careful consideration by all members

            of the panel, will end the matter.



                                         -36-
                                          36















                         Appendix to Judge Campbell's Dissent
                         Appendix to Judge Campbell's Dissent



                      For  the following  reasons,  I conclude  that  the

            judge's relationship  with Mr.  Petruccelli  required him  to

            recuse himself under 28 U.S.C.   455(a) absent receipt of the

            parties'  waiver.  That statute provides  that a judge "shall
                                                                    _____

            disqualify   himself  in   any   proceeding   in  which   his

            impartiality  might  reasonably  be   questioned."  (emphasis
                          _________________

            supplied).   The legislative  history indicates  that section

            455(a) was meant  to lessen  the traditional  "duty to  sit,"

            and,  as   the  Supreme  Court  has   indicated,  to  require

            avoidance of even the appearance of partiality.  Liljeberg v.
                                                             _________

            Health Serv. Acquisition Corp.,  486 U.S. 847, 860-61 (1988).
            ______________________________

            Recusal  may  be  required  even in  the  absence  of  actual

            partiality if  there is  an objectively reasonable  basis for

            doubting the judge's impartiality.  Id.; see Code of Judicial
                                                ___  ___ ________________

            Conduct Canon  2 (1973) ("[A] judge  should avoid impropriety
            _______

            and the  appearance of  impropriety in all  his activities.")
                __________________

            (emphasis supplied).  The Committee on  the Codes and Conduct

            of the Judicial Conference of the United States stated that

                      where  an   attorney-client  relationship
                      exists  between the judge  and the lawyer
                      whose law firm  appears in the case,  the
                      judge should recuse absent remittal.

            2  Administrative  Office  of   the  U.S.  Courts,  Guide  to
                                                                _________

            Judiciary Policies and Procedures V-25 (1993). 
            _________________________________




                                         -37-
                                          37















                      The  proper standard  for  ascertaining  whether  a

            judge's  impartiality might reasonably  be questioned under  

            455(a)  is whether  the  charge of  lack  of impartiality  is

            grounded on  facts that would create a  reasonable doubt, not

            in the  mind of  the judge, or  even necessarily that  of the

            litigant, but  rather in the  mind of the  reasonable person.

            See  United States  v. Cowden,  545 F.2d  257, 265  (1st Cir.
            ___  _____________     ______

            1976),  cert. denied, 430  U.S. 909  (1977).   Section 455(a)
                    ____________

            requires a  contextual, case-by-case  analysis.  It  does not

            imply a bright-line rule disqualifying any judge who ever has

            personal  dealings  with an  attorney  whose firm  represents

            litigants  before the same judge.   The existing  case law on

            the subject  of judge-attorney dealings rests  on exceedingly

            fact-specific judgments, with different outcomes in different

            situations.11



                                
            ____________________

            11.  See In re Placid  Oil Co., 802 F.2d 783 (5th Cir. 1986);
                 ___ _____________________
            Potashnick  v.  Port City  Constr.  Co., 609  F.2d  1101 (5th
            __________      _______________________
            Cir.), cert. denied, 449 U.S. 820 (1980); Texaco v. Chandler,
                   ____________                       ______    ________
            354 F.2d 655  (10th Cir.  1965), cert. denied,  383 U.S.  936
                                             ____________
            (1966); Rapp v. Van Dusen, 350 F.2d 806 (3d Cir. 1965); In re
                    ____    _________                               _____
            Snowshoe Co., 137  B.R. 619 (D. W. Va. 1991), aff'd mem., 953
            ____________                                  __________
            F.2d 639 (4th  Cir. 1992); Carbana v. Cruz, 595  F. Supp. 585
                                       _______    ____
            (D.P.R.  1984), aff'd  mem., 767  F.2d 905  (1st  Cir. 1985);
                            ___________
            Miller Indus., Inc. v. Caterpillar  Tractor Co., 516 F. Supp.
            ___________________    ________________________
            84 (D. Ala. 1980);  Smith v. Sikorsky Aircraft, 420 F.  Supp.
                                _____    _________________
            661  (C.D. Cal.  1976).  See  also Varela v.  Jones, 746 F.2d
                                     _________ ______     _____
            1413  (10th Cir. 1984); S.J. Grove &amp;  Sons Co. v. I.B.T., 581
                                    ______________________    ______
            F.2d 1241  (7th Cir. 1978);  United States v.  Equifax, Inc.,
                                         _____________     _____________
            557 F.2d 456  (5th Cir.  1977), cert. denied,  434 U.S.  1035
                                            ____________
            (1978);  In re Georgetown Park Apt., 143 B.R. 557 (Bankr. 9th
                     __________________________
            Cir.  1992). Cf. In re Allied-Signal, Inc., 891 F.2d 974 (1st
                         ___ _________________________
            Cir. 1989).

                                         -38-
                                          38















                      Having said this, certain principles seem clear.  A

            judge  would ordinarily be disqualified to sit by   455(a) if

            an attorney in  the case before him or her  were, at the same

            time, actively  representing the judge in  a personal matter.

            See  13A  Charles  Wright,  Arthur Miller  &amp;  Edward  Cooper,
            ___

            Federal  Practice and  Procedure    3549  at 614  (1984); cf.
            ________________________________                          ___

            Potashnick, 609  F.2d at  1110-12; Texaco,  354 F.2d at  657.
            __________                         ______

            And while the situation is more attenuated where the judge is

            being personally  represented not by the same attorney but by

            someone else in the attorney's firm,  the latter situation is

            at least cause for concern, as there can be no doubt that, in

            many  factual  situations,  such   overlap  can  create   the

            appearance  of  partiality  calling for  withdrawal  under   

            455(a).   The  members of  the Judicial  Conference Committee

            advising  judges as to the proper  interpretation of the Code

            of Conduct  have said  as much.   See  2  Guide to  Judiciary
                                              ___     ___________________

            Policies and Procedures, supra, at V-25.
            _______________________  _____

                      Weighing all  the factors in the present case    in

            which  I  entertain no  doubt  whatsoever as  to  the judge's

            personal  integrity         I  nonetheless   believe  that  a

            reasonable person  viewing all  the circumstances  might have

            questioned the impartiality of the judge.  The judge's ruling

            to the contrary was, I believe, an abuse of  discretion.  See
                                                                      ___

            In  re United  States, 666 F.2d  690, 697 (1st  Cir. 1981) (a
            _____________________





                                         -39-
                                          39















            federal  judge's decision  on  whether to  recuse himself  or

            herself is committed to that judge's sound discretion).

                      The judge received personal legal services from the

            senior partner of Petruccelli  &amp; Martin, a small eight-member

            firm,  close to  the time  the court  ruled upon  a dismissal

            motion that, had it been resolved for Cargill, would have put

            Petruccelli &amp; Martin's client  out of court.  The  problem is

            not simply that by  personally retaining Mr. Petruccelli, the

            judge  indicated   he  had  high  regard   for  the  latter's

            professional  abilities.    Judges  may and  often  do,  with

            propriety, indicate  respect  for an  attorney's  competence.

            Here, however, by retaining the  senior partner of this small

            firm for personal legal  advice while having under advisement

            a dispositive motion in a case being handled by other members

            of the  firm, the court gave the  appearance that he may have

            had  a particular  affinity for  that firm  and  perhaps some

            close and special relationship.  Other attorneys  in the same

            case could reasonably have  been offended by what might  have

            appeared,  from  the outside,  to  have  been a  confidential

            relationship between  the judge  and Mr. Petruccelli  at that

            particular  time.  Also, even after the ending of the judge's

            own attorney-client relationship,  an outside observer  might

            wonder if, in some  manner, consciously or unconsciously, the

            judge's  appreciation for a job well  done by plaintiff's law

            firm might possibly affect his handling of the pending case.



                                         -40-
                                          40















                      The judge's brief attorney-client relationship with

            Mr.  Petruccelli  ended,  it  is  true,  before  the  judge's

            decision in  the case against  Cargill.  The  judge, however,

            had worked  on Cargill's  motion  during the  period of  that

            relationship.  Moreover, the relationship ended only ten days

            before the decision      a period  too short to insulate  the

            two events from  one another.   Any appearance of  partiality

            that  existed prior  to  the time  the representation  ceased

            cannot be meaningfully separated from the court's decision of

            January 19.  

                      It  is  important to  emphasize  that  28 U.S.C.   

            455(a)  is  concerned  with the  appearance  of impartiality.
                                             __________

            Liljeberg, 486  U.S. at 860-61.   Disqualification for actual
            _________                                              ______

            personal  bias  or  prejudice  is  separately  covered  by   

            455(b)(1).  The judge seems to have overlooked the appearance

            aspect  of the statute when  he emphasized at  the January 12

            conference his moral certainty that his handling  of the case

            would  not   be  affected   by  the  relationship   with  Mr.

            Petruccelli.  The question was not just whether he was biased

            or prejudiced, but whether  his impartiality might reasonably













                                         -41-
                                          41















            be questioned,  a related but different  matter.12  According

            to the House Report accompanying amendments to   455, 

                      Subsection (a) of the amended section 455
                      contains the general,  or catch-all,  [of
                      Canon 3C] that  a judge shall  disqualify
                      himself in  any proceeding in  which 'his
                      impartiality'    might   reasonably    be
                      questioned.   This  sets up  an objective
                      standard,  rather   than  the  subjective
                      standard  set  forth   in  the   existing
                      statute . . . .  This general standard is
                      designed to promote public  confidence in
                      the impartiality of the  judicial process
                      by  saying, in  effect,  if  there  is  a
                      reasonable factual basis for doubting the
                      judge's    impartiality,     he    should
                      disqualify himself and let  another judge
                      preside over the case.  The language also
                      has the effect of removing  the so-called
                      'duty to sit' which has become a gloss on
                      the existing statute . . . .  

            H. Rep. No. 93-1453, 93d Cong., 2d Sess. (1974), reprinted in
                                                             ____________

            1974 U.S.C.C.A.N. 6351.

                      To  be sure, the drafters of  the statute were also

            concerned, as are my colleagues here, that the statute not be

                                
            ____________________

            12.  Section 455 was completely rewritten by Congress in 1974
            so as to conform  with the then-new Code of  Judicial Conduct
                                                _________________________
            which  the  Judicial  Conference  of the  United  States  had
            adopted in  1973 as being  applicable to all  federal judges.
            Section  455 was amended so as nearly to duplicate the Code's
            Canon 3C,  with the intention  that federal judges  "would no
            longer be subject to dual [i.e.] Code and statutory standards
            governing  their   qualification  to  sit  in   a  particular
            proceeding."    H. Rep.  No.  93-1453,  93d Cong.,  2d  Sess.
            (1974),  reprinted in 1974  U.S.C.C.A.N. 6351.   The  Code of
                     ____________                                 _______
            Judicial   Conduct  was  drafted  under  sponsorship  of  the
            __________________
            American  Bar Association  by a  committee chaired  by former
            California  Chief  Justice  Roger   J.  Traynor.  The   other
            committee members included Justice Potter Stewart of the U.S.
            Supreme Court, Judge Irving  R. Kaufman of the U.S.  Court of
            Appeals for the  Second Circuit, and Judge Edward  T. Gignoux
            of the U.S. District Court for the District of Maine.

                                         -42-
                                          42















            used by litigants for  purely strategic purposes.   The House

            Report  cautions  that the  new test  should  not be  used by

            judges to avoid sitting  in difficult or controversial cases.

            Disqualification for lack of impartiality must always have "a

            reasonable basis."  Id. (emphasis in original).  
            __________          ___

                      Yet the question at  issue is, objectively, whether
                                                     ___________

            the  circumstances reasonably gave rise  to a question of the

            judge's  impartiality.   If  so, the  judge shall  disqualify
                                                        _____

            himself.  An express purpose of the 1974 rewrite of   455 was

            to  abandon the  subjective  standard of  the older  statute,

            which  had depended largely  on the judge's  personal view of

            whether he  or she could behave  impartially.  Unfortunately,

            the circumstances here created a situation where a reasonable

            observer   could  entertain   doubts   as   to  the   judge's

            impartiality.  The judge himself obviously had concerns about

            the  appearance of what had happened, leading him to call the

            conference of January 12 for  the purpose of disclosing  what

            had transpired.          That  a  question  of   the  judge's

            impartiality under    455(a) existed does  not mean that  the

            judge committed  a serious impropriety.   The judge explained

            that  he did  not  immediately focus  on  the fact  that  Mr.

            Petruccelli's firm, partners and associates  were involved in

            the  case  pending  before  him.     Once  aware,  the  judge

            commendably disclosed  the relationship.   This action speaks

            loudly as  to  the  judge's personal  integrity.    The  fact



                                         -43-
                                          43















            remains,   however,  that   a   reasonable   observer   could

            objectively   question  the   judge's  impartiality   in  the

            particular circumstances.  The judge was, therefore, required

            to remove himself unless he had received the parties' waiver.













































                                         -44-
                                          44









